        Case 3:25-cv-00335-ECC-ML           Document 15        Filed 03/18/25        Page 1 of 1




___________________________________________________________________________________________
26 Court Street                                                            Tel: (718) 783-6819
Suite #603                                                                 Fax: (855) 852-4742
Brooklyn, NY 11242                                                           www.dnislaw.com

                                                                                       March 18, 2025
VIA ECF
Hon. Judge Elizabeth C. Coombe
United Stated District Court

                          RE: Taal et al. v. Trump et al.(25-cv-00335)

Dear Honorable Elizabeth C. Coombe:

        Our office represents Momodou Taal, Mukoma Wa Ngugi and Sriram Parasurama
(collectively “Plaintiffs”) in the above captioned matter. We are writing to update the Court
regarding the status of the filing of our Affidavits of Service in this case.
        In order to meet the Court's deadline, we have filed our Affidavits of Service, which
demonstrate service via certified mail upon the U.S. Department of Homeland Security, Donald J.
Trump, and Kristi Noem (collectively, "Defendants").
        U.S. Attorney Daniel Hanlon of the Northern District of New York ("AUSA Hanlon") was
personally served on March 17, 2025. We have made several attempts to contact our process
server via email and phone regarding the Affidavit of Service for AUSA Hanlon, but have not
received a response. We anticipate receiving the Affidavit of Service tomorrow morning. We
have taken the necessary steps to notify AUSA Hanlon about this matter and its filings. This
includes faxing all initiating documents, Notice of Motion and Motion for TRO, Memorandum in
Support and all supporting exhibits to AUSA Hanlon on Monday, March 16, 2025. Additionally,
we spoke with Eleanor Page of the U.S. Attorney's office today around 1 p.m. to inform them of
our service and of tomorrow's hearing.
        We respectfully request that the Court accept the filed Affidavits of Service and allow us
to file the Affidavit of Service for AUSA Hanlon tomorrow.
        We thank the Court for its consideration of our request.

Dated: March 18, 2025
                                                            Respectfully submitted,

                                                      By: /s/ Mohammad Akif Saleem
                                                          Mohammad Akif Saleem, Esq.
                                                          Bar Number: 4842753
                                                          Davis Ndanusa Ikhlas & Saleem LLP
                                                          26 Court Street Suite 603
                                                          Brooklyn, NY 11242
                                                          Email: msaleem@dnislaw.com
                                                          Phone: (718) 783-6819

                                                            Counsel for Plaintiffs
cc: Counsel of Record (via ECF)
